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 6 Attorneys for Defendant Salam Kalasho
   and Pisces International, Inc.
 7

 8                          IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10 UNITED STATES OF AMERICA,                              )   CASE NO. CR. S-08-577 FCD
                                                          )
11                         Plaintiff,                     )   STIPULATION AND ORDER CONTINUING
                                                          )   STATUS CONFERENCE
12
            v.                                            )
13                                                        )   DATE:          November 2, 2009
   SALAM S. KALASHO,                                      )   TIME:          10:00 a.m.
14 ANIL MALHI, and                                        )   COURT:         Courtroom 2
   PISCES INTERNATIONAL, INC.,                            )
15                                                        )
16                         Defendants.                    )
                                                          )
17
            IT IS HEREBY stipulated between the United States of America, through its undersigned
18
     counsel, Assistant United States Attorney R. Steven Lapham, together with counsel for Defendant
19

20 Salam S. Kalasho and Pisces International, Inc., Gregory A. Vega, and counsel for Defendant Anil

21 Malhi, Donald M. Re, that the status conference presently set for November 2, 2009, be continued to

22 January 11, 2010 at 10:00 a.m., thus vacating the presently set status conference.

23          The parties stipulate that the ends of justice are served by the Court excluding such time, so that
24
     counsel for the Defendants may have reasonable time necessary for effective preparation, taking into
25
     account the exercise of due diligence. 18 U.S.C. § 3161 (h) (8) (B) (iv).
26

27

28                                                                                   Case No. CR. S-08-577 FCD
                                                         1
                                              Stipulation and Order
                                           Continuing Status Conference
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            Specifically, the requested continuance is based upon the need of counsel for Defendant
 1

 2 Kalasho and Defendant Malhi for additional time to review additional discovery documentation and

 3 engage in settlement discussions. The parties stipulate and agree that the interests of justice served by

 4 granting this continuance outweigh the best interests of the public and the Defendants in a speedy trial.

 5
     18 U.S.C. § 3161 (h) (8) (A).
 6
            IT IS SO STIPULATED.
 7
     Dated: October 28, 2009                             /s/ Gregory A. Vega
 8                                                      Gregory A. Vega
                                                        Attorney for Defendant Salam Kalasho
 9                                                      and Pisces International, Inc.

10

11 Dated: October 28, 2009                               /s/ Donald M. Re
                                                        Donald M. Re
12                                                      Attorney for Defendant Anil Malhi

13

14 Dated: October 28, 2009                               /s/ R. Steven Lapham
                                                        R. Steven Lapham
15                                                      Assistant U.S. Attorney

16

17                                                 ORDER

18 IT IS SO ORDERED.

19

20 Dated: October 28, 2009

21                                                      FRANK C. DAMRELL, JR.
                                                        UNITED STATES DISTRICT JUDGE
22

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25

26

27

28                                                                                 Case No. CR. S-08-577 FCD
                                                        2
                                             Stipulation and Order
                                          Continuing Status Conference
